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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

JAMES YERIAN,                                    §
           Plaintiff,                            §
                                                 §
vs.                                              §
                                                 §   CIVIL ACTION NO. __________
                                                 §
                                                 §
WAL-MART STORES TEXAS, LLC,                      §
Defendant.                                       §



                                   NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

         1.    Defendant, Wal-Mart Stores Texas, LLC, by their undersigned attorney,

respectfully show this Court:

         2.    On February 12, 2019, Cause No. CV19-0093-173 was commenced against

Defendant in the 173rd Judicial District Court of Henderson County, Texas, and is now pending

therein.

         3.    On February 15, 2019, Defendant was served with Plaintiff's Original Petition and

First Request for Written Discovery in the above-entitled action.

         4.    As of the date of this filing, no pleadings have been filed in the state court action

other than the Plaintiff's petition. Copies of all process, pleadings and orders served upon

Defendant in the above-entitled action are attached hereto as Exhibit A, and filed herewith.

         5.    This Court has jurisdiction of the above-entitled action pursuant to 28 U.S.C.

§1332, and the action may therefore be removed to this Court pursuant to 28 U.S.C. §1441(b).

         6.    It is facially apparent from Plaintiff’s Original Petition that the amount in


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controversy exceeds the jurisdictional threshold of this Honorable Court. In paragraph 1.02 of

Plaintiff’s Petition, Plaintiff states that he seeks monetary relief greater than $1,000,000.00. It is

clear that Plaintiff is seeking damages in excess of the minimum jurisdictional limits of this

Court.

         7.     At the time of the commencement of this action and at all times since, the

Defendant, Wal-Mart Stores Texas, LLC, has been and still is incorporated under the laws of the

State of Delaware, having its principal place of business in the State of Arkansas, and the

Plaintiff has been and still is a Texas citizen.

         8.     A jury demand has not been made in Cause CV19-0093-173.

         9.     This notice is filed with this Court within 30 days after service on Defendant of

Plaintiff's Original Petition in the above-entitled action.

         WHEREFORE, Defendant prays that the above-entitled action be removed from the 173rd

Judicial District Court of Henderson County, Texas to this Court.

                                                   Respectfully submitted,




                                                   By:
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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been
forwarded to Plaintiff’s attorney of record, in accordance with the Federal Rules of Civil
Procedure and the Local Rules of this Court on this the 11th day of March, 2019




                                         Jessica M. LaRue
